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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE
__________________________________________
                                           )
JOHN DOE,                                  )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )  Civil Action No: 1:19-cv-00013-JL
                                           )
TRUSTEES OF DARTMOUTH COLLEGE,             )
                                           )
      Defendant.                           )
_________________________________________ )

   JOINT MOTION TO SEAL PRELIMINARY INJUNCTION HEARING EXHIBITS

       Pursuant to Local Rule 83.12, the parties, Defendant Trustees of Dartmouth College

(“Dartmouth”) and Plaintiff John Doe, move the Court to maintain under seal (Level I), for an

indefinite period, the following proposed exhibits for the hearing on Plaintiff’s Motion for

Preliminary Injunction.

                     Defendant’s proposed exhibits to be filed under seal

Exhibit 2 - The final Investigation Report, November 29, 2018 (filed under seal, Dkt. No. 18)

Exhibit 3 - Notice to Doe about sexual assault allegation and investigation, July 5, 2018

Exhibit 4 - Signed Statement of Understanding, July 13, 2018

Exhibit 5 - Letter from Doe’s attorney-advisor providing witness list and evidence, July 20, 2018

Exhibit 6 - The preliminary Investigation Report, September 21, 2018

Exhibit 7 - Doe’s response to the preliminary Investigation Report, October 8, 2018

Exhibit 10 - Doe’s appeal, December 19, 2018

Exhibit 11 - Appeal outcome letter from Elizabeth Agosto to Doe, January 21, 2019




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                      Plaintiff’s proposed exhibits to be filed under seal

Exhibit 2 - November 29, 2018 Confidential Report of Dartmouth College Investigation of
            Sexual Misconduct (Final Report) (DC0000001-DC0000020)

Exhibit 3 - Sally Smith Interviews

Exhibit 4 - John Does Interviews

Exhibit 5 - Text Messages between Sally Smith and John Doe

Exhibit 6 - Text Messages between Sally Smith and Witness (DCC0000544-DC0000551)

Exhibit 7 - Text Messages between Sally Smith and Witness (DCC0000512-DC0000521)

Exhibit 8 - Text Messages between Sally Smith and Witness (DCC0000590-DC0000594)

Exhibit 9 - Photos of Sally Smith (DC0000505-DC0000508)

Exhibit 10 - May 20, 2018 and May 21, 2018 emails between Kristi Clemens and Sally Smith
             (DC0000138-DC00000139)

Exhibit 11 - July 5, 2018 letter from Katharine Strong to John Doe (DC0000025-DC0000026)

Exhibit 12 - July 5, 2018 letter from Katharine Strong to Sally Smith (DC0000027-DC0000028)

Exhibit 13 – July 13, 2018 Statement of Understanding of Students’ Rights in Disciplinary
             Matters (DC0000657-DC0000659)

Exhibit 14 - July 18, 2018 email from Sally Smith to Investigator Hellstedt (DC00000140)

Exhibit 15 - July 20, 2018 letter from John Doe’s advisor to Investigator Hellstedt

Exhibit 17 - July 31, 2018 email from Sally Smith to Investigator Hellstedt (DC00000141)

Exhibit 18 - August 20, 2018 letter from John Doe’s advisor to Attorney Iyer

Exhibit 19 - August 25, 2108 email from Sally Smith to Investigator Hellstedt (DC00000144)

Exhibit 20 - September 4, 2018 letter from Dana Scaduto to John Doe’s advisor

Exhibit 21 - September 7, 2108 email from Sally Smith to Investigator Hellstedt (DC00000144)

Exhibit 22 - September 21, 2018 Confidential Report of Dartmouth College Investigation of
             Sexual Misconduct (Preliminary Report) (DC0000665-DC0000678)



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Exhibit 23 - October 8, 2018 letter from John Doe to Investigator Hellstedt (DC00000647-
             DC0000656)

Exhibit 26 - November 16, 2018 letter to John Doe

Exhibit 27 – John Doe Sanctioning Statement

Exhibit 28 - Sally Smith Sanctioning Statement (DC0000636-DC0000638);

Exhibit 29 - December 19, 2018 John Doe Appeal Letter (DC0000639-DC0000645);

Exhibit 30 - January 21, 2019 Dartmouth response to Appeal Letter

       In support of this motion, the Parties submit the accompanying Memorandum of law.

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January 23, 2019


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                                     Certificate of Service

       I certify that on January 23, 2019, I caused the foregoing document to be served on
counsel of record for all parties that have appeared to date through the Court’s CM/ECF system:

       William E. Christie
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                                     /s/ Katherine A. Guarino
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